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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------- X
                                        :
                                        :           22cv4687 (DLC)
IN RE TELADOC HEALTH, INC. SECURITIES   :
LITIGATION                              :            OPINION AND
                                        :               ORDER
                                        :
--------------------------------------- X

APPEARANCES:

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DENISE COTE, District Judge:

     Investors in Teladoc Health, Inc. (“Teladoc” or “the

Company”) have brought this putative securities class action
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against the Company and several of its senior executives.           Lead

plaintiff alleges that the defendants made misleading statements

following Teladoc’s $18.5 billion acquisition of Livongo Health,

Inc. (“Livongo”).    According to lead plaintiff, the defendants’

statements artificially inflated the price of Teladoc’s stock

between February 11, 2021 and July 27, 2022 (the “Class

Period”).   The defendants have moved to dismiss the complaint.

The defendants’ motion to dismiss is granted.


                               Background

     The following facts are drawn from the Second Amended

Complaint (“SAC”) and documents relied upon by the SAC.           For the

purposes of deciding this motion, the SAC’s factual allegations

are accepted as true, and all reasonable inferences are drawn in

the plaintiffs’ favor.

     Teladoc is a leading provider of virtual healthcare

services.   Traditionally, the Company focused on “treating acute

conditions (such as providing short-term solutions to a sudden

onset of an injury or illness).”        In the midst of growing

competition in the telehealth industry, Teladoc expanded its

product portfolio through a series of acquisitions, “with the

goal of staying competitive by providing full-spectrum, ‘whole-

person’ virtual care.”     The whole-person approach “seeks to

treat the entire person -- i.e., both their physical and mental


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health, their acute episodic needs as well as their chronic and

complex needs and taking care of them on a preventive basis.”

     The individual defendants, Jason Gorevic, Mala Murthy,

Bimal Shah, Richard Napolitano, and Stephany Verstraete are,

respectively, Teladoc’s Chief Executive Officer; Chief Financial

Officer; former Chief Medical Officer; Senior Vice President,

Chief Accounting Officer and Controller; and Chief Marketing and

Engagement Officer.    This lawsuit stems from the Company’s

merger with Livongo in October 2020.

I.   The Livongo Merger

     On August 5, 2020, Teladoc entered into a merger agreement

with Livongo, a leading provider of virtual chronic disease

management.   The Teladoc-Livongo merger substantially expanded

the Company’s chronic care business and, according to the

registration statement, represented a “significant opportunity

to provide whole-person care as a comprehensive partner.”          The

merger closed on October 30, 2020.       The combined entity remained

under the Teladoc name and ticker.       Teladoc paid approximately

$18.5 billion in consideration for Livongo.        The Company’s

chronic care business is now referred to as Livongo.

     The Company’s S-4 registration statement, filed in

connection with the merger on September 11, 2020, explained

several of the key risks involved with the deal, including:



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         “Combining the businesses of Teladoc and Livongo may be
          more difficult, costly or time-consuming than expected and
          the combined company may fail to realize the anticipated
          benefits of the merger, which may adversely affect the
          combined company’s business results and negatively affect
          the value of the common stock of the combined company
          following the merger.”

         “The failure to integrate successfully the businesses and
          operations of Teladoc and Livongo in the expected time
          frame may adversely affect the combined company’s future
          result.”

         “Failure to attract, motivate and retain executives and
          other key employees could diminish the anticipated benefits
          of the merger.”

The registration statement gave “no assurances” that Teladoc and

Livongo could be “integrated successfully.”

II.       Class Period Events

          The Class Period runs from February 11, 2021 to July 27,

2022.       Although the SAC is lengthy and the allegations are

voluminous, its contentions center around two themes.               It

asserts that (1) the defendants painted an unjustifiably

positive picture of the status of the Teladoc-Livongo

integration, and (2) the defendants downplayed rising

competition within the virtual healthcare industry.              The alleged

misrepresentations, which are also described in the discussion

that follows, largely arose in the context of the following

events and filings.




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      A.   Q4 and FY 2020 Earnings, WTF Health Interview, and
           Bill Frist Interview

      On February 11, 2021, Shah participated in an interview

with WTF Health.     In that interview, Shah spoke optimistically

about the Livongo integration, noting it was “going really

great.”

      On February 24, the Company hosted a conference call to

discuss its Q4 2020 financial results, the Company's first

quarterly report following the merger.        On that call, Gorevic

provided an update on the progress of the integration.           Gorevic

also discussed the Company’s competitive advantage within the

telehealth industry and discussed market opportunities for

BetterHelp, the Company’s mental health platform.

      On March 1, the Company filed its 2020 Form 10-K.          In the

2020 10-K, Teladoc disclosed several risks related to the

merger, including:

     Teladoc “may have difficulty integrating the Livongo
      business, and the anticipated synergies and other benefits
      of the combined company may not be realized[;]”

     The success of the merger “will depend in large part on the
      success of the management of the newly combined company in
      integrating the operations, strategies, technologies, and
      personnel of the two companies[;]” and

     “[P]otential difficulties” could arise with regard to “the
      retention of and possible decrease in business from the
      existing customers,” “the integration of corporate cultures
      and maintenance of employee morale,” and “the retention of
      key employees,” among others.


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Moreover, the Company warned that “[e]ven if integration is

successful, anticipated cost savings, synergies and other

benefits may not be achieved.”

     As for the Company’s competitive positioning, the 2020 10-K

warns: “[w]e operate in a competitive industry, and if we are

not able to compete effectively, our business, financial

condition and results of operations will be harmed;” competition

within the virtual care market was “expect[ed] to [] increase[],

which could make it difficult for [Teladoc] to succeed;” and

that “[Teladoc’s] competitors could also be better positioned to

serve certain segments of our markets, which could create

additional price pressure.”

     On March 15, Gorevic discussed the progress of the Livongo

integration in an interview with former Senator Bill Frist.            He

touted the companies’ “cultural alignment” but admitted their

integration “certainly [faced] challenges.”

     B.   Q1 2021 Earnings and CNBC Interview

     On April 28, 2021, Teladoc held its Q1 2021 earnings call.

Gorevic provided an update on the integration, reporting

“considerable progress.”     Gorevic also discussed the competitive

landscape in response to an analyst’s question about the

Company’s “most recent thoughts on competition” and how the




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“competitive landscape has [] changed over the last couple of

years.”

        On May 11, Gorevic participated in an interview with CNBC.

In that interview, Gorevic discussed the growing competition in

the telehealth industry and spoke optimistically about “the

market demand and consumer demand for unified integrated

solutions.”

        C.      June 2021 Investor Meetings

        On June 1 and 8, 2021, the Company held investor meetings.

At the June 1 meeting, Gorevic was asked about Teladoc’s

competitive positioning given the entry of “retail giants like

Amazon and more recently, Walmart” into the telehealth market.

        Credit Suisse issued an analyst report on June 8, following

a meeting with Teladoc.      1   In their report, the analyst summarized

positive remarks management had made about the Livongo

integration.

        D.      Q3 2021 Earnings and October and November 2021 Reports

        On October 27, 2021, Teladoc hosted its Q3 2021 earnings

call.        Gorevic briefly discussed the status of the Livongo

integration.




1 The parties have not provided the June 8, 2021 Credit Suisse
report.

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     On October 28, Credit Suisse issued another analyst report

that contained a post-quarterly conference call discussion with

Teladoc management.     Management commented on the status of the

Livongo integration, and the analyst reported that “management

pushe[d] back on the claim that [Teladoc] is behind [schedule]

when it comes to the actual integration of Livongo.”

     On November 10, Business Insider published an article

detailing challenges that Teladoc was facing with the

integration, including a “culture clash” between the two

companies.     Teladoc’s stock price fell 4.21% that day.       The

Business Insider article contained an interview with Gorevic in

which he responded that the integration efforts remained “on

track.”

     On November 18, the Company hosted its 2021 Investor Day.

Verstraete commented on the integration and Gorevic touched on

the Company’s competitive advantages.        Also on November 18,

Gorevic was interviewed by CNBC.        CNBC questioned Gorevic about

increasing competition in the telehealth industry.

     E.      Q4 and FY 2021 Earnings and JPM Healthcare Conference

     On January 10, 2022, Teladoc participated in JPMorgan’s

annual healthcare conference.      Defendants again discussed

competition within the telehealth industry.        On February 22,

Teladoc held its Q4 2021 earnings call.        Gorevic spoke about



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Teladoc’s online mental health platform, BetterHelp, noting its

“tremendous track record.”

     On February 28, Teladoc filed its 2021 Form 10-K.          The

2021 10-K included cautionary language about the Livongo

integration, including that Teladoc “may” not realize all

of the anticipated synergies and benefits of the Livongo

merger “if the integration process takes longer than

expected or is more costly than expected.”        It added that

the integration “will continue to be a time-consuming and

expensive process that, without proper planning and

effective and timely implementation, could significantly

disrupt our business.”     The 2021 10-K then listed a number

of “potential difficulties [that Teladoc] may encounter in

the integration process.”

     The 2021 10-K also warned about competition in the

telehealth industry.     For instance, it noted that Teladoc

“operate[s] in a competitive industry, and if we are not

able to compete effectively, our business, financial

condition, and results of operations will be harmed.”          It

also cautioned that increased competition in the virtual

healthcare market “could”: (1) “make it difficult for

[Teladoc] to succeed,” (2) “negatively impact [] sales,




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profitability, and market share,” and (3) “create

additional price pressure.”

     F.   Q1 and Q2 2022 Earnings

     On April 27, 2022, the Company issued a press release and

held an earnings call regarding its Q1 2022 earnings.         In the

press release, Teladoc reported a net loss per share of $41.58,

primarily driven by a non-cash goodwill impairment charge of

$6.6 billion.   Teladoc also revised its FY 2022 revenue and

adjusted EBITDA projections down “to reflect dynamics” the

Company was “currently experiencing in the direct-to-consumer

(D2C) mental health and chronic condition markets.”         In the

press release, Gorevic further explained that:

     In the D2C mental health market, higher advertising
     costs in some channels are generating a lower-than-
     expected yield on our marketing spend. In the chronic
     condition market, we are seeing an elongated sales
     cycle as employers and health plans evaluate their
     long-term strategies to deliver the benefits and care
     that their populations need.

     Later that day, Teladoc held its Q1 2022 earnings call.

Murthy explained that “[t]he goodwill impairment was triggered

by the sustained decline in Teladoc Health share price.”

Gorevic also addressed the revised guidance figures, citing

lower expected growth at BetterHelp and a lowered outlook for

chronic care revenue (i.e., Livongo).       In the Q&A portion of the

call, Gorevic discussed the status of the Livongo integration,



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and expressed continued optimism about the benefits of the

merger.   The following day, Teladoc’s shares fell 40.15%.

     On July 27, 2022, Teladoc issued a press release and held

an earnings call regarding its Q2 2022 earnings.        Teladoc

reported a net loss per share of $19.22, driven by a second non-

cash goodwill impairment charge of $3 billion.        Again, Teladoc

attributed the goodwill impairment to “the decline in Teladoc

Health share price.”    On the earnings call, Murthy stated that

the integration process remained ongoing.       Gorevic acknowledged

that, as with the first quarter, the growth in the Company’s

chronic care business (i.e., Livongo) continued to slow.

Gorevic attributed the slowed growth “at least in part due to

competitive noise as the market transitions from stand-alone

point solutions to integrated whole-person virtual care.”              On

the heels of the news, Teladoc’s stock price fell 17.67%.

III. Procedural History

     This action was filed on June 6, 2022, as a putative class

action.   On August 17, the case was reassigned to this Court.

On August 23, Leadersel Innotech ESG was appointed as lead

plaintiff.   Also on that day, a schedule was set for filing

amended pleadings.

     Lead plaintiff filed its first amended complaint on

September 30.   On November 3, the defendants moved to dismiss



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the first amended complaint.     Instead of opposing the motion to

dismiss the first amended complaint, lead plaintiff filed a

second amended complaint (the “SAC”) on December 6.       2   The SAC

alleges (1) violations of § 10(b) of the Securities Exchange Act

of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-

5(b) thereunder, 17 C.F.R. §§ 240.10b-5(b); and (2) “control

person” liability under § 20(a) of the Exchange Act, 15 U.S.C. §

78t(a).     The SAC asserts that defendants made a variety of

misleading statements that masked the true extent of Teladoc’s

difficulties integrating Livongo and the competitive pressures

it faced.

     Defendants moved to dismiss the SAC on January 20, 2023.

The motion became fully submitted on March 31.


                               Discussion

     To survive a motion to dismiss for failure to state a

claim, a complaint “must plead enough facts to state a claim to

relief that is plausible on its face.”       Green v. Dep’t of Educ.

of N.Y., 16 F.4th 1070, 1076-77 (2d Cir. 2021) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).         In securities

fraud actions,



2 The lead plaintiff was warned on August 23, 2022 that, after
filing the SAC, it would likely not have a further opportunity
to amend the complaint.


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     [t]he Court may also consider any written instrument
     attached to the complaint, statements or documents
     incorporated into the complaint by reference, legally
     required public disclosure documents filed with the
     SEC, and documents possessed by or known to the
     plaintiff upon which it relied in bringing the suit.

Tongue v. Sanofi, 816 F.3d 199, 209 (2d Cir. 2016) (citation

omitted).

     Under SEC Rule 10b-5, it is unlawful to “make any untrue

statement of a material fact or to omit to state a material fact

necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading . . .

in connection with the purchase or sale of any security.”          17

C.F.R. § 240.10b–5; see also 15 U.S.C. § 78j(b).        “Section 20(a)

provides that individual executives, as controlling persons of a

company, are secondarily liable for their company's violations

of the Exchange Act.”    Altimeo Asset Mgmt. v. Qihoo 260 Tech.

Co. Ltd., 19 F.4th 145, 152 (2d Cir. 2021) (citation omitted).

     Complaints alleging securities fraud violations are subject

to a heightened pleading standard pursuant to the PSLRA and Rule

9(b), Fed. R. Civ. P.    To state a claim for relief under § 10(b)

and Rule 10b-5, a plaintiff must allege that a defendant:

     (1) made misstatements or omissions of material fact,
     (2) with scienter, (3) in connection with the purchase
     or sale of securities, (4) upon which the plaintiff
     relied, and (5) that the plaintiff's reliance was the
     proximate cause of its injury. In addition, because
     such a claim sounds in fraud, the plaintiff must state



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     with particularity the circumstances constituting
     fraud.

Altimeo Asset Mgmt., 19 F.4th at 149-50 (citation omitted).

“The PSLRA requires plaintiffs to specify each misleading

statement; set forth the facts on which a belief that a

statement is misleading was formed; and state with particularity

facts giving rise to a strong inference that the defendant acted

with the required state of mind.”       In re Synchrony Fin. Sec.

Litig., 988 F.3d 157, 167 (2d Cir. 2021) (citation omitted).

     The defendants argue that the SAC fails to adequately plead

(1) statements that qualify as material misrepresentations, (2)

scienter, and (3) loss causation.       Because the SAC fails to

identify a material misrepresentation, it is not necessary to

assess the adequacy of its assertion of scienter or loss

causation.

I.   Legal Standard

     A.      Material Misrepresentations or Omissions

     “A statement is materially misleading when the defendants’

representations, taken together and in context, would have

misled a reasonable investor.”     Altimeo Asset Mgmt., 19 F.4th at

151 (citation omitted).     “To be material, a statement must, in

the view of a reasonable investor, have significantly altered

the total mix of information available.”       Plumber & Steamfitters

Local 773 Pension Fund v. Danske Bank A/S, 11 F.4th 90, 100-01


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(2d Cir. 2021) (citation omitted).          “Omissions are material when

there is a substantial likelihood that the disclosure of the

omitted fact would have been viewed by the reasonable investor

as having significantly altered the total mix of information

made available.”          Altimeo Asset Mgmt., 19 F.4th at 151 (citation

omitted).   3


     B.         Opinion

     To adequately plead a misleading statement of opinion,

     [t]he investor must identify particular (and material)
     facts going to the basis for the issuer's opinion -- facts
     about the inquiry the issuer did or did not conduct or the
     knowledge it did or did not have -- whose omission makes
     the opinion statement at issue misleading to a reasonable
     person reading the statement fairly and in context.

Tongue, 816 F.3d at 209 (quoting Omnicare, Inc. v. Laborers

Dist. Council Constr. Ind. Pension Fund, 575 U.S. 175, 194

(2015)).        The investor must show (1) “that a statement of

opinion contained one or more embedded factual statements that

can be proven false,” or (2) “that a statement of opinion,

without providing critical context, implied facts that can be

proven false.”        Abramson v. Newlink Genetics Corp., 965 F.3d

165, 175 (2d Cir. 2020).          A reasonable investor understands,

however, that “opinions sometimes rest on a weighing of




3 The plaintiffs assert that the defendants omitted key
information from their statements about competition and the
Livongo integration, which rendered those statements misleading.

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competing facts,” and that it “is not necessarily misleading

when an issuer knows, but fails to disclose, some fact cutting

the other way.”      Tongue, 816 F.3d at 210 (citation omitted).

Moreover, “[g]eneric, indefinite statements of corporate

optimism typically are not actionable.”         Abramson, 965 F.3d at

173.

       C.   Forward-Looking Statements

       Forward-looking statements are not actionable under the

PSLRA “if (1) the forward-looking statement is identified and

accompanied by meaningful cautionary language, (2) the forward-

looking statement is immaterial, or (3) the plaintiff fails to

prove that the forward-looking statement was made with actual

knowledge that it was false or misleading.”          In re Vivendi, S.A.

Sec. Litig., 838 F.3d 223, 245 (2d Cir. 2016) (citation

omitted).    “[A] forward-looking statement is protected . . . if

any of the three prongs applies.”         Id. at 245-46.    When the

forward-looking statement is made at the time a company makes a

filing with the SEC that contains meaningful cautionary language

on the topic, the cautionary language in the filing protects the

contemporaneous forward-looking statement.

II.    Application

       The SAC asserts that a host of statements made by the

defendants during the Class Period are actionable as false and



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materially misleading, even though Teladoc accurately reported

its financial results during the same period.           Those statements

can be grouped into two categories -- statements of optimism

regarding Teladoc’s integration of the Livongo business

(“Integration Statements”), and statements regarding Teladoc’s

position within the telehealth industry (“Competition

Statements”).   4


        A.   Integration Statements

        The SAC’s Integration Statements are largely non-actionable

statements of opinion and/or expressions of corporate optimism.

The following are representative examples taken from the SAC:

       Defendants spoke repeatedly about the two companies’
        “aligned” cultural values, their “shared mission,” and how
        they “really do fit together.”

       Defendants referred to the Company’s “progress” integrating
        Livongo, commenting, inter alia: it “continues to
        progress,” was “well on [its] way,” “on track,” or “so far,
        so good.”

       Defendants stated that the merger would create “new
        opportunities” and was “resonating in the marketplace.”

To the extent these are statements of corporate optimism, they

are “precisely the type of puffery that [the Second Circuit] and

other circuits have consistently held to be inactionable.”                In


4 The SAC also points to several statements that were made by
unnamed individuals and summarized in the Credit Suisse analyst
report and the Business Insider article. Those statements are
not pled with the particularity required by the PSLRA.


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re Synchrony Fin. Sec. Litig., 988 F.3d 157, 170 (2d Cir. 2021)

(citation omitted).   5


      Only five of the Integration Statements warrant further

discussion.    They are:

    1) A February 24, 2021 statement that “our commercial
       organization is now fully integrated.”6

    2) A February 24, 2021 statement that Teladoc “[had] the
       capabilities to deliver and manage care virtually across
       the spectrum for consumers.”

    3) An April 28, 2021 statement that Teladoc had “made
       considerable progress across our key work streams” on the
       integration, including that the “commercial organization
       has been fully integrated with sales teams selling across
       the entire whole-person portfolio of products.”

    4) A November 10, 2021 statement that Teladoc had launched a
       new service which “fully blends Livongo’s assets with
       Teladoc’s.”

    5) A November 18, 2021 statement that Teladoc “integrated the
       legacy Livongo and Teladoc marketing data and tech stacks.”

The SAC does not adequately plead that any of these

representations was false or materially misleading.           The first




5 Because defendants only cited four statements as examples of
puffery, lead plaintiff argues that the defendants “concede the
rest are not puffery.” This argument fails. In their motion,
the defendants argue that “many of the statements about
integration efforts . . . are quintessential corporate puffery
and subjective statements of opinion.” That they only discuss
four examples in depth does not waive this objection.

6 This representation was repeated with slight variations
throughout the Class Period. The February 24, 2021 statement is
the earliest identified in the SAC.

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three statements appear in the earnings calls for Q4 2020 and Q1

2021.

        In the first statement, made roughly four months after the

merger, Gorevic refers to the integration of the companies’

commercial organization.       He does not define what he means by

Teladoc’s “commercial organization,” but the parties agree that

the commercial organization is responsible for sales to

commercial clients such as health plans and employers.            The SAC

pleads that Confidential Witness (“CW”) 2, who was a Vice

President in the Livongo and then Teladoc sales organization

until the fall of 2021, “would not have considered the

commercial business ‘fully integrated’” because “the businesses

were all running separately.”        This difference of opinion is

insufficient to plead a claim of falsity.

        In opposing this motion, the lead plaintiff points to other

statements from the SAC in which CWs opined on “internal

confusion, ‘misalignment,’ and division” between the personnel

from the two companies as well as a “hemorrhaging of key Livongo

employees.”     Descriptions of general corporate discontent or

upheaval are not sufficiently tied to the work of the commercial

organization to render Gorevic’s opinion about the integration

of its operations false.       The lead plaintiff relies as well on a

statement by CW 7, who worked as a Growth Acquisition Manager at



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Livongo and then Teladoc until October 2021, that “many” of the

business segments at Teladoc were “siloed.”        Again, CW 7’s

judgment about unidentified business segments within Teladoc is

not sufficiently tethered to the commercial organization’s

integration to render Gorevic’s statement false.        More is

required to allege a plausible claim of falsity than is pleaded

in the SAC.   Gorevic’s statement of opinion is made at a high

level of generality and was made at a time when the company was

describing its integration efforts as complex, challenging, and

a work in progress.

     The second statement, which was also made during the Q4

2020 earnings call, was that Teladoc had the “capabilities to

deliver and manage care virtually across the spectrum for

consumers.”   This is a classic statement of opinion.        The

statement was made in the course of a description of how the

merger with Livongo had expanded Teladoc’s capabilities.           The

SAC does not explain how this statement of opinion contained any

embedded fact statements that were false or was otherwise

actionable.

     The SAC does not plausibly plead that the third statement,

made in the Q1 2021 earnings call, is false.        When read in

context, the “progress” to which the speaker refers appears to

be the integration of the commercial organizations.         The SAC



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does not plead facts to support a claim that the remainder of

the statement was false, to wit, that Teladoc did not have sales

teams selling the entire whole-person portfolio of products by

April 28, 2021.

     The fourth statement, which appeared in the report of an

interview with Teladoc’s CEO published in Business Insider, is

about a service that “fully blends” the assets of Livongo with

those of Teladoc.   The SAC asserts that the statement created

the false impression that Teladoc had fully integrated

“Livongo’s product platforms” with Teladoc’s.        That is not a

fair reading of the statement.      The article explored why it was

taking Teladoc and Livongo “longer than expected” to accomplish

their original vision.    Teladoc’s CEO expressed pride about the

Company’s progress but did not represent at any point that all

product platforms had been fully integrated or that the aim of

the merger had been fully accomplished.

     Lastly, the SAC asserts that the statement made at a

Teladoc Investor Day on November 18, 2021 -- that Teladoc had

“integrated the legacy Livongo and Teladoc marketing data and

tech stacks” -- was false.   7   The SAC, however, does not include

allegations about the failure to integrate “marketing data” or


7 The parties have not provided the complete transcript of the
Investor Day remarks. The few pages provided by the defendants
do not include the passage on which the SAC relies.

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“tech stacks.”      Instead, it relies on complaints by its CWs

about Teladoc’s “marketing strategies,” about Teladoc relying on

Livongo to provide “data science personnel,” and about delays in

integrating “data systems.”        The most relevant allegations in

the SAC are provided by CW 11, who was a Senior Director of

Analytics at Livongo and held the same role at Teladoc until

June 2021.     According to the SAC, CW 11 “believed” that the term

“tech stacks” refers to applications used for marketing

purposes, such as email blasts or text messages sent to

customers.     CW 11 reported that Teladoc’s marketing team mined

data from a data system named Tableau to populate its tech

stacks, but that Teladoc did not begin, much less complete, the

process of integrating Teladoc’s and Livongo’s Tableau data

systems during the Class Period.           This is insufficient to

plausibly plead falsity.       Precision matters.      The Investor Day

statement refers specifically to marketing data and tech stacks.

It does not refer to data systems or to Tableau.           Therefore,

even if the SAC adequately pleads that the term “tech stacks” is

a reference to email blasts and text messages, it does not

adequately plead that they had not been “integrated” by November

2021.

        In its opposition to this motion, the lead plaintiff argues

that Teladoc’s general statements of optimism about the



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integration of the two companies are actionable because they

created the false impression that the integration “was completed

or progressing successfully.”     For example, the SAC alleges that

Gorevic mislead investors during the March 15, 2021 interview

with Bill Frist when he stated that the integration was going

“very well” and that the “the cultural alignment [was] very

strong,” but failed to mention “substantial personnel

integration problems, . . . heavy attrition, and other company

culture clash issues.”    In another example, the SAC alleges that

Gorevic misled investors, in connection with his November 10,

2021 Business Insider interview, when he described the

integration as “on track” and did not mention that “Teladoc was

nowhere near completing the integration of the [companies’]

Salesforce systems.”

     There are several difficulties with the lead plaintiff’s

omissions theory.   The generality of many of the statements of

opinion and optimism to which the SAC points “prevents them from

rising to the level of materiality required to form the basis

for assessing a potential investment.”       Indiana Pub. Ret. Sys.

v. SAIC, Inc., 818 F.3d 85, 97–98 (2d Cir. 2016).         Moreover, “a

corporation is not required to disclose a fact merely because a

reasonable investor would very much like to know that fact.”

Dalberth v. Xerox Corp., 766 F.3d 172, 183 (2d Cir. 2014).



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Teladoc was only obligated to disclose additional facts if doing

so was necessary to make a statement “not misleading.”         Matrixx

Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011)

(citation omitted).    In light of defendants’ contemporaneous

robust disclosures of the challenges and risks it was facing,

the SAC has failed to plead that the statements it has

identified misled a reasonable investor.       For example, even

before the Livongo merger closed, Teladoc warned that

“[c]ombining the businesses of Teladoc and Livongo may be more

difficult, costly or time-consuming than expected” and “any

delays encountered in the integration process[] could have an

adverse effect” on the combined Company’s financial results.

Teladoc also expressly disclaimed any assurances “that

[Teladoc’s and Livongo’s] businesses [could] be integrated

successfully.”   Teladoc warned investors in its 2020 and 2021

Form 10-Ks that “the overall integration of Livongo post-merger

will continue to be a time-consuming and expensive process that

. . . could significantly disrupt our business.”        These and many

other warnings made clear to any reasonable investor that the

integration process was complex and that different components of

the integration effort might progress at different rates.




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     B.   Competition Statements

     The second category of alleged misstatements concerns

Teladoc’s place in the competitive landscape.        The SAC does not

plausibly allege that any of the Competition Statements are

misleading.

     Again, most of the identified Competition Statements are

classic statements of opinion for which there is no plausible

pleading of falsity.    For example, the SAC points to Gorevic’s

response in the February 24, 2021 earnings call to a question

about employers’ expansion of their own telehealth services.

Gorevic stated that Teladoc saw that market as an

“underpenetrated” opportunity.     At a June 1, 2021 conference, in

response to a question about small-sized competitors, Gorevic

explained that Teladoc wins in that match-up because of its

“multiproduct breadth of solutions.”      During an April 27, 2022,

earnings call, Gorevic asserted that the market was “responding

well to” Teladoc’s multiproduct sales.       The SAC does not plead

that these statements of opinion were embedded with factual

statements that were false or implied facts that were false.

     Many of the other Competition Statements identified in the

SAC express optimism about Teladoc’s ability to compete within

the telehealth market, and specifically about its new “whole-

person” product offerings.     Expressions of optimism are not



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generally actionable, and the SAC does not plausibly allege that

these statements are so.

     Lastly, the SAC asserts that the Company improperly

downplayed the impact on Teladoc’s business of the growing

competition in the virtual healthcare market.        Lead plaintiff

points to Gorevic’s statement in the April 28, 2021 earnings

call that Teladoc “almost never” bumped into many of the

competitors that an analyst had just listed, and that Teladoc

was not seeing some of the new entrants “gain traction.”          The

SAC does not plead that either of these observations was false.

The SAC relies on statements from CW 1 that Teladoc was

experiencing increased competition with CVS and from CW 2 that

Teladoc competitors “were able to steal clients from Teladoc by

citing the integration problems.”       Neither of these statements

contradicts Gorevic’s statements.

     Moreover, Teladoc repeatedly warned investors of the risks

posed by competition.    For example, in the Company’s 2020 Form

10-K filed on March 1, 2021, Teladoc cautioned “[w]e operate in

a competitive industry, and if we are not able to compete

effectively, our business, financial condition and results of

operations will be harmed.”     The 2020 10-K added that Teladoc

“currently face[s] competition . . . from a range of [named]

companies,” and noted that “potential Clients may accept



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competitive solutions in lieu of purchasing [Teladoc’s]

solutions.”   These warnings were repeated in Teladoc’s 2021 Form

10-K filed on February 28, 2022.   8


     There is a separate reason that many of the statements

about competition identified in the SAC are not actionable.            The

forward-looking Competition Statements challenged in connection

with the Company’s earnings announcements were accompanied by

cautionary language throughout the Class Period.        For example,

in Q1 2022, the Form 10-Q stated:

     Many statements made in this Quarterly Report on Form
     10-Q that are not statements of historical fact,
     including statements about our beliefs and
     expectations, are forward-looking statements and
     should be evaluated as such. . . . these statements
     are not guarantees of performance or results.

The accompanying Press Release included similar language:

     This press release contains “forward-looking
     statements” within the meaning of the safe harbor
     provisions of the [PSLRA]. . . . Our actual results
     and financial condition may differ materially from
     those indicated in the forward-looking statements.

And in the quarterly earnings call, Gorevic prefaced his

comments with a “disclaimer,” stating:

     [C]ertain statements made during this call will be
     forward-looking statements as defined by the [PSLRA].
8 Lead plaintiff argues that these risk disclosures were
“insufficient and themselves misleading because such risks had
already materialized.”  There is nothing misleading in these
disclosures. Teladoc repeatedly disclosed the impact that
competitive pressure was having on the Company’s financials. It
lowered its financial projections in part to account for that
competitive pressure in April 2022.

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     Such forward-looking statements are subject to risks,
     uncertainties and other factors that could cause the
     actual results for Teladoc Health to differ materially
     from those expressed or implied on this call.

Teladoc repeated these risk disclosures in quarterly SEC filings

throughout the Class Period.   9


III. Request for Leave to Amend

     Lead plaintiff requests that, if the defendants’ motion to

dismiss is granted, it be given leave to amend the SAC.          In

general, leave to amend should be “freely give[n] when justice

so requires.”     Fed. R. Civ. P. 15(a)(2).     Leave to amend may be

denied, however, “for good reason, including futility, bad

faith, undue delay, or undue prejudice to the opposing party.”

Eastman Kodak Co. v. Henry Bath LLC, 936 F.3d 86, 98 (2d Cir.

2019) (citation omitted).     Additionally, a plaintiff “need not

be given leave to amend if it fails to specify . . . how

amendment would cure the pleading deficiencies in its

complaint.”     TechnoMarine SA v. Giftports, Inc., 758 F.3d 493,

505 (2d Cir. 2014).

     Lead plaintiff’s request for leave to amend is denied.

Lead plaintiff has not identified how further amendment would

address the deficiencies in SAC.        Nor has it attached a proposed

amended complaint.     Moreover, lead plaintiff was warned that,


9 Because lead plaintiff has failed to state a claim under §
10(b) of the Securities Exchange Act, the claims under § 20(a)
are also dismissed.

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